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                           UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF MISSISSIPPI

 IN RE:

        DELTA MARKETING GROUP, LLC                                      CASE NO. 23-02190-JAW


        DEBTOR.                                                                        CHAPTER 11


                                          Notice of Deficiency

To the Debtor and his attorney, if any:

     For this case to be administered, it is necessary that the items(s) described below be filed
immediately.

          List of 20 Largest Unsecured Creditors
                          Non-Individual Official Form 204
          Corporate Ownership Statement (If the Debtor is a corporation)

       In the event the above documents are not filed on or before September 25, 2023, the Court
may dismiss this case without further notice or hearing.


 Dated: September 22, 2023                           Danny L. Miller, Clerk of Court

                                                     By:   /s/ Beth Harkins

                                                     Thad Cochran U.S. Courthouse
                                                     501 E. Court St., Ste. 2.300
                                                     Jackson, MS 39201
                                                     601-608-4600
